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 6
                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE
 8
 9 UNITED STATES OF AMERICA, )
                                 )
10                   Plaintiff,  )               CASE NO.      CR07-132 RSL
                                 )
11         v.                    )
                                 )
12                               )               DETENTION ORDER
    DINH T. NGUYEN,              )
13                               )
                Defendant.       )
14 ______________________________)
15 Offenses charged:
16            Count I:      Conspiracy to Manufacture Marijuana, in violation of Title 21,
17                          U.S.C., Sections 841(a)(1), 841(b)(1)(A), and 846;
18            Count II:     Conspiracy to Engage in Money Laundering, in violation of Title 18,
19                          U.S.C., Section 1956(h).
20 Date of Detention Hearing: April 16, 2007
21            The Court, having conducted an uncontested detention hearing pursuant to Title
22 18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
23 detention hereafter set forth, finds that no condition or combination of conditions which the
24 defendant can meet will reasonably assure the appearance of the defendant as required and
25 the safety of any other person and the community. The Government was represented by
26 Sarah Vogel. The defendant was represented by Jennifer Horowitz.


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 1       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2            (1)    There is probable cause to believe the defendant committed the drug
 3                   offense. The maximum penalty is in excess of ten years. There is
 4                   therefore a rebuttable presumption against the defendant’s release based
 5                   upon both dangerousness and flight risk, under Title 18 U.S.C. §
 6                   3142(e).
 7            (2)    Defendant is viewed as a risk of nonappearance as he is in the United
 8                   States illegally and the Bureau of Immigrations and Customs
 9                   Enforcement has filed a detainer against him.
10            (3)    The defendant is the son of co-defendant Le My Nguyen, who has been
11                   detained. The co-defendant is alleged to have been teaching him how to
12                   run the business using illegal means, wherein large sums of money were
13                   obtained from the manufacture of marijuana found in grow houses.
14            (4)    Defense counsel stipulates to detention at this time.
15 Based upon the foregoing information, which is consistent with the recommendation of
16 detention by U.S. Pretrial Services, it appears that there is no condition or combination of
17 conditions that would reasonably assure future Court appearances and/or the safety of
18 other persons or the community.
19            It is therefore ORDERED:
20            (l)    The defendant shall be detained pending trial and committed to the
21                   custody of the Attorney General for confinement in a correction facility
22                   separate, to the extent practicable, from persons awaiting or serving
23                   sentences or being held in custody pending appeal;
24            (2)    The defendant shall be afforded reasonable opportunity for private
25                   consultation with counsel;
26            (3)    On order of a court of the United States or on request of an attorney for

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 1               the Government, the person in charge of the corrections facility in which
 2               the defendant is confined shall deliver the defendant to a United States
 3               Marshal for the purpose of an appearance in connection with a court
 4               proceeding; and
 5         (4)   The clerk shall direct copies of this order to counsel for the United
 6               States, to counsel for the defendant, to the United States Marshal, and to
 7               the United States Pretrial Services Officer.
 8         DATED this 17th day of April, 2007.
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12                                                  MONICA J. BENTON
13                                                  United States Magistrate Judge

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